                               3:19-cv-03195-CSB # 84         Page 1 of 2
                                                                                                           E-FILED
                                                                        Monday, 31 October, 2022 04:42:17 PM
                                                                                 Clerk, U.S. District Court, ILCD

                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE CENTRAL DISTRICT OF ILLINOIS

  DWIGHT LONG,                                        )
                                                      )
                  Plaintiff,                          )
                                                      )   Case No. 19-cv-3195
                                                      )
            v.                                        )
                                                      )   Honorable Colin S. Bruce
  TERRY MARTIN,                                       )
                                                      )
                  Defendant.                          )

                 CERTIFICATE OF SERVICE OF DISCOVERY DOCUMENTS

        I certify that on October 31, 2022, I served a copy of Defendant’s Supplemental Rule 26

Disclosures, First Set of Interrogatories, and First Request for Production of Documents to Plaintiff at

the addresses listed below, by first-class U.S. mail, together with this Certificate:

                        Sara M. Trevino
                        Christopher Bailey
                        University of Illinois College of Law
                        Federal Civil Rights Clinic
                        504 E. Pennsylvania Avenue
                        Champaign, Illinois 61820


 Dated: October 31, 2022                           Respectfully submitted,

 Kwame Raoul
 Attorney General                                  By:    s/ Alan Remy Taborga
 State of Illinois                                        Alan Remy Taborga
 Counsel for Defendant,                                   Assistant Attorney General
 TERRY MARTIN                                             Office of the Illinois Attorney General
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                           3:19-cv-03195-CSB # 84            Page 2 of 2




                                  CERTIFICATE OF SERVICE

       I hereby certify that on October 31, 2022, I electronically filed the foregoing, Certificate of

Service of Discovery Documents, with the Clerk of Court using the CM/ECF system, which will

send notification of such filing to the following:


                       Sara M. Trevino
                       Christopher Bailey
                       University of Illinois College of Law
                       Federal Civil Rights Clinic
                       504 E. Pennsylvania Avenue
                       Champaign, Illinois 61820



                                                     Respectfully submitted,



                                                     By:   s/ Alan Remy Taborga
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